                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                                   3:02CR242-2


                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )          ORDER
                                                 )
ANTONIO FERNANDEZ GARCIA (2)                     )
                                                 )


       THIS MATTER is before the Court on Defendant’s Motion to Correct Sentence for the

Second Time [doc. 341] filed on March 1, 2007.

       In accordance with the Court’s original intent, this motion is GRANTED. The Order

[doc. 339] filed on January 23, 2007, and the Amended Judgment [doc. 340] filed on January 29,

2007, were incorrectly calculated due to clerical error. Accordingly, Defendant’s sentence is

further reduced from 49 months to 38 months. A second Amended J&C is to be prepared to

reflect the new sentence and that Defendant is receiving credit for time served in the North

Carolina State prison system.

       IT IS SO ORDERED.

                                                Signed: March 8, 2007




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